       Case 1:17-cv-06154-HBP Document 1 Filed 08/15/17 Page 1 of 27


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UNITED STATES DISTRICT CO RI
SOUTIIERN DIS RICT OF NEW YORK
 --·-- -·-------------·-·-----------------�--- ------�------------- . X
LEONEL CALDERON D AR LADJ 0, and                                                  Case No. 17-CV-6154
VAL ENTIN MELENDEZ, on behalf of themsdves and
others similarly situated

                                      Pfa.intiffs,                                FI SA COLLEC1 IVE
                                                                                  ACT ON and RULE
         -against-                                                                2" LASS ACTION
                                                                                  COMPLAJNT
CJS WHOlESAI ERS .C. d/b/a AJS WHOL SALERS/ :
MANDEL TOBACCO, CHEON PARK, and
HYUN HAM,                                                                         ,Jury Trial
                                                                                  Demanded
                                      Defend an ts.
--·--------- ·-·-------------·------ ..... ... ---. ---·· .. ---------------X.

         PJaintiffs     T EO EL         CAL DERO ;            EDGAR          LAD1NO,   and      V ALENTJN

MELENDEZ (hereinafter, ..PJaintiffs"),
                         .             on behaI                       of themselves and other similarly

situated employees, by and through the'r undersigned attorneys, Cilenti & Cooper, PLLC,

fiJe this Complaint           against defendants CJS               WHOLESALERS         INC.     d/b/a   Arn

WHO ES ALERS/MA DEL TOBACCO ( 'CJS WHOT ESALERS'') CHEON PARK, and

HYUN HAM (collectively, the "Individual De endants }) (CJS WHOLESAL RS and tJ1e

1 ndividuaI Defendants are collectively referred to he ·ein as the ''Dcfendru.1ts·'), and state as

follows:
        Case 1:17-cv-06154-HBP Document 1 Filed 08/15/17 Page 2 of 27


                                     lNTRODUCTION

             I.   Plaintiffs allege that, pursuant to the Fair Labor Standards Act, as

ame nded, 29 U.S.C. §§ 201 el seq. ("FLSA "), they are entitled to recover from the

Defendants: (a) unpaid minimum wages , (b) unpaid overt ime compensation, (c)

liquidated damages, (d) prejudgment and post-judgment inte rest, and (e) attorneys' fees

and costs .

             2.   Plaintiffs further allege that, pursuant to the New York Labor Law, they

are entitled lo recover from the Defendants: (a) unpaid minimum wages , (b) unpaid

ove1time compensation, (c) unpaid "spread of hours" premium for eac h day they worked

a shift in excess of ten (10) hours , (d) liquidated and statutory damages pursuant to the

New York Labor Law and the New York State Wage Theft Prevent ion Act, (e)

prejudgment and post-judgment interest, and (1)attorneys' fees and costs .

                              .JURISDICTIONAND VENUE

             3.   This Court has j urisdiction over this controversy pursuant to 29 U.S.C.

§216(b), 28 U.S.C. §§ 133 1, 1337 aud 1343, and has supplementa l jurisd iction over

Plaintiffs ' state law claims pursuant to 28 U.S.C. § 1367.

             4.   Venue is proper in the Southern District pursuant to 28 U.S.C. § 1391

because the conduct making up the basis of the complaint took place in this judicial

dist rict.

                                         PARTIES

             5.   Plaintiffs LEONEL CALDERON and VALENT IN MELENDEZ are each

residents of Kings County , New York.

         6.       Plaintiff, EDGAR LADINO, is a resident of Bronx County, New York.




                                              2
     Case 1:17-cv-06154-HBP Document 1 Filed 08/15/17 Page 3 of 27


       7.      Defondant CJS WHOLESALERS is a domestic business corpora tion

organized under the laws o f the State of New York, with a principal place of business at

152 W. 36'h Street , New York, New York 10018.

       8.      Defenda nt CJS WHOLESALERS had a pr ior principal place of business

at 260 W. 36111Street, New York, New York 10018.

       9.      Upon informa tion and belief, defendant CJS WHOLESALERS was

Conne rly incorporated as AJS Wholesale Inc., through a prior owner by the name of

Chang Young.

        l 0.   Whether formerly incorporated as AJS Wholesa le Inc., or under its cun-ent

corporate name of CJS Wholesa lers, Inc., the bus iness employing P laintiffs has always

ope rated and do ne business as "AJS Wholesa lers/Mandel Tobacco."

        11.    The whereabouts of Mr. Young are unknown.

       12.     Defendants CHEON PARK and HYUN 11AM took over ownersh ip and

operationa l contro l of AJS Wholesa lers/Mandel Toba cco in or about Apri l 20 12, and

change d the co rporate name to CJS WHOLESALERS INC.

       13.     Upon information and belief, defendants CH.EON PARK and HYUN

HAM are husband and wife , respective ly.

       14.     De fendants CHEON PARK and HYUN HAM are joint                      owners,

shareholders, offic ers, direc tors, supervisors, managing agents, and propr ietors of CJS

WI lOLESALERS who active ly participate in the day-lo-day operations of CJS

WHOLESALERS and acted in1e111io
                             nally and maliciously and are employers pursuant to

the FLSA, 29 U.S.C. § 203(d) and Regula tions promu lgated thereunder, 29 C.F.R. §




                                            3
      Case 1:17-cv-06154-HBP Document 1 Filed 08/15/17 Page 4 of 27


791.2, as well as New York Labor Law § 2 and the Regulations thereunder, and are

jointly and severa lly liable with CJS WHOLESALERS.

        15.    Defendants CHEON PARK and HYUN HAM collective ly exerc ised

contro l over the tenns and conditions of Plaintiffs ' emp loyment in that they have and

have had the power to: (i) hire and fire employees, (ii} determine rates and methods of

pay, (iii) determine work schedules, (iv) superv ise and control work of the employees,

and (v) otherwise affect the quality of the emp loyees' employment.

        16.    Defendants CHEON PARK and HYUN HAM are each present on the

premises of CJS WHOLESALERS on a da ily basis, actively superv ise the work of the

employees , and maodate that all issues concerning the employees' employment -

including hours worked and pay received - be authorized and approved by them.

        17.    At least within each of the most recent three (3) years relevant to the

allegat ions in this Comp laint, CJS WHOLESALERS was. and continues lo be, an

"enter prise engaged in commerce" with in the mean ing of the FLSA in that it (i) has and

has had emp loyees engaged in commerce or in lhe production of goods for commerce, or

that handle, sell, or otherw ise work on goods or mater ials that have been moved in or

produced for commerce , and (ii) has and has had an annual gross volmne of sales of not

less than $500,0 00.

       18.     Pla intift; LEONEL CALDERON, was continuously employe d by AJS

Wholesalers/Mande l Tobacco to work as a non-exempt warehouseman, driver, and

delivery person for its wholesale business from in or about 1995 until on or about August

5, 2017, where his responsibil ities included, but were not limited to, delivering items




                                            4
       Case 1:17-cv-06154-HBP Document 1 Filed 08/15/17 Page 5 of 27


such as cigars, candy , and soda to New York City-based neighborhood markets , delis,

and bodegas, organizing orders/deliveries, and stocking merchand ise.

        19.     Plaintiff , EDGAR     [,ADTNO, was continuous ly emp loyed        by AJS

Wholesalers/Mandel Tobacco to work as a non-exempt warehouseman, driver 's helper,

and de livery perso n for its wholesa le business from in or about 2009 until on or about

August 5, 2017, where his responsibilitie s included , but were not limited to, delivering

items such as cigars, candy, and soda to New York City-based ne ighborhood markets,

delis. and bodegas, organiz ing orders/deliveries , and stock ing merchandise.

        20.     Plaint iff, VALENTIN MELENDEZ, was continuously employed by AJS

Wholesa lers/Mandel Tobacco to wo rk as a non-exempt warehouseman, driver' s helper,

and del ivery person for its wholesa le business from ill or about 2007 until on or about

July 27, 20 l 7, where his respons ibilities included, but were not limited to, deliver ing

items suc h as cigars, candy , and soda to New York City -based neighborhood markets ,

delis, and bodegas, organiz ing order s/deliveries, packing merchand ise, and stocking

merchand ise.

        21.     The work performe d by Plaintiffs was directly essential to the business

operated by Defendants.

        22.     Defendants knowingly and willfully failed to pay Plaintiffs their lawfully

earned minimum wages in direct contravention of the FLSAand New York Labor Law.

        23.     Defendants knowingly and willfu lly failed to pay Plaintiffs their lawfully

earned overtime compensat ion in d irect contrav ention of the FLSA and New York Labor

Law.




                                              5
      Case 1:17-cv-06154-HBP Document 1 Filed 08/15/17 Page 6 of 27


        24.      Defendants knowingly and wi llfully failed to pay Plaintiffs their lawfully

earned "spread of hours" premium in direct contravent ion of the New York Labor Law.

        25.      Plaintiffs have satisfied all condit ions precedent to the institution of this

action, or such conditions have been waived.

                                 STATEMENTOF FACTS

        26.      The Individua l Defendants jointly participate in the day-to-day operation

of CJS WHOLESALE RS. For instru1ce, the Individual Defendants personally supervise

and direct the work of the employees, instruct the employees how to perform their jobs,

and correct and/or reprimand the employees for any errors made.

       27.     The Individual Defendants jointly create, imp lement, and approve all

business policies and make all crucial business dec isions, includ ing those concerning the

number of hours the employees work, the amount of pay that the emp loyees are entitled

to receive, and the manner and method by which the employees are to be paid.

       28 .      Upon information and be lief: defendant CJS WHOLESAL ERS, which

was first incorporated on or about April I 0, 20 12, is the successor to non-party AJS

Wholesale Inc.

       29.     Upon      information    and     belief:   as   successor,    defendant    CJS

WHOLESALERS acquired substantial assets of non-party AJS Wholesale Inc., and has

continued, without interruption or substant ial change, the business operations of the

predecessor non-party A.JS Wholesale Inc.

       JO.     To the extent defendant CJS WHOLESALERS is the successor to non-

party A.IS Wholesale Inc., it is liable for the debts and liabilities of its predecessor non-

patty AJS Who lesale Inc.




                                              6
      Case 1:17-cv-06154-HBP Document 1 Filed 08/15/17 Page 7 of 27


        31.      T<J the extent defonda11t CJS WHOLESAL ERS is the successor to non-

party AJS Whole~ale Inc., Defendants are liable for the debts and liabilities of its

predecesso r non-party AJS Who lesale Inc. for the entire relevant six (6) year limitation s

period , including the period from August 201 I through March 2012 during wh ich time

AJS Wholesale Inc. owned and operated AJS Wholesalers/Mande l Tobacco .

        32.      In or about 1995, Plaintiff LEONEL CALDERON was hired to work for

the   business    known      as   AJS   Wholesa lers/Man del Tobacco         as   a    non-exempt

warehouseman , driver, and de livery person.

        33.      Plaintiff   cont inuously     worked     m     those    capac ities    for   AJS

Who lesalers/Ma nde l Tobacco until on or about August 5, 2017.

        34.      At no time during l1is employment for A.JS Wholesa lers/Mande l Tobacco

did Pla intiff rece ive a wage notice ind icating his regular hourly rate of pay and

corresponding overtime rate of pay.

        35.      Dur ing the cour.se of Pla intiffs employment for AJS Wholesalers/Man de l

Tobacco, he worked over forty (40) hours per week .

        36.      During the relevan t six (6) year limitations period begi nning in August

20 11 and continuin g through in or about December 2016 , Pla intiff worked six (6) days

per week and, his work schedu le cons isted of nine (9) hours per day Monday through

Saturday Ii-om7:00 a.m. unt il 4:00 p .m., and sometimes in excess thereof .

       37.       Plaint i11's work sh ift wou ld occas ionally exceed ten ( JO) hours in a day.

       38.       Plaintiff was not required to monitor his work hours tlu·ough the use of a

punch clock or other simi lar time-recor ding device .




                                                7
      Case 1:17-cv-06154-HBP Document 1 Filed 08/15/17 Page 8 of 27


        39 .    During this period , Plaintiff was not paid proper overtime compensat ion.

During this period, Plaintiff was paid. in cas h, at the rate of $650 per week straight time

I-o r all hours worked, and worked fifty-four (54) hour~ per week (and sometimes in

excess thereot).   Work performed above forty (40) hours per week was not paid at the

stat uto1y rate of' time and one -half as required by state and federa l law.

        40 .    Beg inn ing in or about January 20 17 and continuing tlU'ough the remainder

of his employment on or about August 5, 2017, Plaintiff worked six (6) days per week

and. his work schedu le cons isted of eight and one-half (8Y:.) hours per day Monday

through Sat urday from 7:00 a.m . until 3:30 p.m., and so metimes in excess thereof.

        41.     Duriug this per iod, Pla intiff was not paid proper overtime compensat ion.

Durin g this per iod, Pla int iff was paid, in cash, at the rate of $650 per week stra ight time

for all hours wo rked, and worked fifty-one (51) hours per week (and somet imes in excess

thereof). Work performed above forty (40) hours pe r week wa.,~not paid at the stat utory

rate of time and one-ha lf as requ ired by state and federa l law.

        42 .    At no time during his emp loyment for AJS Wholesa lers/Mande l To bacco

did Plaintiff receive a weekly wage statement with bis cash wages, which indicate d his

gross wage s, deductions, and net wages.

        43.     In or abou t 2009, Plaintiff EDGAR LADINO was hired to work for the

bus iness known as AJS Who lesa lers/Ma ndel Tobacco as a non-exempt warehouseman,

driver's helper , and del ivery person .

        44 .    Plaintiff   cont inuously     wor ked    in    those    capacities   for   A.IS

Who lesalers/Man del Tobacco tmtil on or about A ugust 5, 20 17.




                                                8
      Case 1:17-cv-06154-HBP Document 1 Filed 08/15/17 Page 9 of 27


       45.     At no time during his employmen t for AJS Wholesalers/Mandel Tobacco

did Plaintiff receive a wage notice indicating his regular hourly rate of pay and

corresponding overtime rate of pay.

       46.     During the cm,rse of Plaintift' s employment for A.IS Wholesalers/Mandel

Tobacco, he worked over forty (40) hours per week .

       47.     During the relevant six (6) year limitations period beginning in August

2011 and continuing throug h in or about December 2016, Plaintiff worked six (6) days

per week and, his work schedu le consisted of nine (9) hours per day Monday through

Saturday from 7:00 a.m. until 4:00 p.m., and sometimes in excess thereof.

       48.     Plaintiffs work shift would occasio nally exceed ten (10) hours in a day.

       49.     Plaintiff was not required lo monitor his work hours tlU'ough the use of a

punch clock or other similar time-recording device.

       50.     From in or about August 20 I I and con tinuing through in or about

December 2013 , Plaintiff was not paid proper overtime compensation.             During this

period, Plaintiff was paid, in cash, at the rate of $460 per week straight time for all hours

worked, and worked fifty-four (54) hours per week (and sometimes in excess thereof) .

Work performed above forty (40) hours per week was not paid at the statutory rate of

lime and one-half as required by state and federa l law.

       51.     Beginning in or about January 2014 and co ntinuing through in or about

December 20 16, Plaintiff was not paid proper overtime compensation.             Dming this

period, Plaintiff was paid, in cash. at the rate of $500 per week stra ight time for all hours

worked, and worked fifty-four (54) hours per week (and sometimes in excess thereof).




                                              9
     Case 1:17-cv-06154-HBP Document 1 Filed 08/15/17 Page 10 of 27


Work performed above forty (40) hours per week was not paid at the statutory rate of

time and one-ha lf as requ ired by state and federal law.

        52.     Beginning in or about January 2017 and continuing through the rema inder

of his emp loyment on or about Augus t 5, 2017, Plaintiff worked six (6) days per week

and. his work schedu le consisted of e ight and one-half (8Y.) hours per day Monday

through Satu rday from 7:00 a.m. unt il 3:30 p.m., and sometimes in excess thereof.

        53.     During this period, Plaintiff was not paid proper minimum wages and

ove1t ime compe nsa tion. Ouring this per iod, Plaintiff was pa id, in cash, at the rate of

$500 per week stra ight time for all hours worke d, and worked fifty -one (5 1) hours per

week (and somet imes in excess thereof).      Work performed above forty (40) hours per

week was not paid at the statutory rate of time and one-half as required by state and

federal law .

        54.     At no time during his emp loyment for AJS Who lesalers/Mande l Tobacco

did Plaintiff receive a weekly wage stateme nt with his cash wages, wh ich ind icated his

gross wages , deduct ions, and net wages.

        55.     In or about 2007, Plaint iff VALENTIN MELENDEZ was hired to work

for tl1e business known as AJS Wholesalers/Mandel              Tobacco as a non-exempt

warehouseman, driver', helper, and del ivery person.

        56 .    Plaintiff   continuous ly   worked     111   those   capac ities   for   A.IS

Wholesa lers/Ma ncie l Tobacco until on or about Ju ly 27, 2017.

        57.     Al no time during his employment for AJS Wholesa lers/Man del Tobacco

did Pla inti ff rece ive a wage notice ind icating his regula r hourly rate of pay and

correspond ing overt ime rate of pay.




                                             10
     Case 1:17-cv-06154-HBP Document 1 Filed 08/15/17 Page 11 of 27


        58.     During the course of P laintiffs emp loyment for AJS Who lesalers/Mandel

Tobacco, he wo rked over forty (40) hours per week.

        59.     During the relevant six (6) year limitations period beginning in August

20 11 and continuing through in or about December 2016, Plaintiff worked six (6) days

per week and, his work schedu le cons isted of nine (9) hours per day Mo nday through

Saturday from 7:00 a.m. until 4:00 p.m. , and sometimes in excess thereof.

        60.     Plaintiffs wor k shift wou ld occasionally exceed ten (10) hours in a day.

        61.     Plaintiff was not requ ired to monitor his work hours throug h the use of a

punch clock or other simila r time-record ing device.

        62.     From in or about August 20 I I and cont inuing through in or about

December 20 11. Plaintiff wa\ not paid proper ove1timc compensa tion.              During this

period, Plaintiff was paid, in cash , at the rate of $430 per week straight time for all hours

wo rked , and worked fifty-four (54) hours per week (and sometimes in excess thereof).

Work perfom1ed above forty (40) hours per week was not paid at the stat utory rate of

time and one-ha lf as required by state and federal law.

       63.      Beginning in or about January 20 12 and continu ing through in or about

December 2016 , Plaintiff was not paid proper overtime compensation.               During this

period, Plaintiff was paid, in cash, at the rate of $500 per week straighl time for all hours

worked , and worked fifty-four (54) hours per week (and some times in excess thereoJ).

Work performed above forty (40) hours per week was not paid at the statutory rate of

time and one-half as required by state and federa l law.

       64 .    Beginn ing in or about January 2017 and cont inuing through the remainder

of his emp loyment   011   or about July 27, 2017 , Plaintiff worked six (6) days per week and,




                                                11
     Case 1:17-cv-06154-HBP Document 1 Filed 08/15/17 Page 12 of 27


his work schedule consisted of eight and one-ha lf (SY,) how-s per day Monday through

Saturday from 7:00 a.m . until 3:30 p.m. , and sometimes in excess thereof.

       6S.     During this period, Plaintiff was not paid proper minimum wages and

overtime compensation.     During this period, Plaintiff was pa id, in cash, at the rate of

$500 per week straight t ime for all hours worked, and worked fifty-one (5 1) hours per

week (and somet imes in excess thereot).      Work perfo rmed above forty (40) how·s per

week was not paid al the statutory rate of lime and one-half as required by state and

federal law.

       66.     At no lime dur ing his employment for AJS Who lesalers/Mandel Tobacco

d id Plaintiff receive a weekly wage statement with his cash wages, which indicated his

gross wages, deductions, and net wage s.

       67.     Defendants knowi ngly and willfully operated their bus iness with a policy

of not paying e ither the FLSA minimum wage or the New York State minimum wage to

Plaintiffs and other similarly situated emp loyees.

       68.     Defendants knowing ly and willfully operated the ir bus iness wi.th a policy

of not payin g Plaintiffs and oth er simi larly situated emp loyees eithe r the FLSA overtime

rate (of time and one-hall), or the New York State overtime rate (of time and one-hall) , in

d irect vio lation of the fLSA and New York Labor Law and the suppor ting federal and

New York State Departmen t of Labor Regulations .

       69.     Defendants knowingly and will l't1lly operated their business with a policy

of not paying Plaintiffa and ot her similarly situated emp loyees "spread of hours "

prem ium for each day that they worked a shift in excess of ten ( I 0) hours, in direct




                                             12
      Case 1:17-cv-06154-HBP Document 1 Filed 08/15/17 Page 13 of 27


violation of the New York Labor Law and the supporting New York State Department of

l ,abor Regulat ions.

            70.   At all relevnnt times , upon inforrnntion and belief, und during the course

of Plaintiffs' employment , the Defendants failed to maintain accurate and sufficient time

and pay records.

                        COLLECTIVEACTIONALLEGATIONS

            71.   Plaintiffs bring this action individually and as class representatives on

behalf of themselves and all other current and former non-exempt employees who have

been or were emp loyed by Defendants since August 15, 20 l 4 until the close of the opt-in

per iod as ultimate ly set by the Cou11 (the "Collective Action Period"), and who were

compensated at rates less than the statutory minimum wage and/or less than time and

one -half for all hours worked in excess offo1ty (40) hours per workweek (the "Co llective

Action Members") .

            72.   The collective action class is so numerous that joinder of all members is

impracticable. Although the precise number of such persons is unknown, and the facts

upon which the ca lculat ion of that number are presently within the sole cont rol of the

Defendants, upon information and beliet: there are more than forty (40) Collective Action

Members who worked for the Defendants during the Collective Action Period, most of'

whom would not be likely to file individual su its because they lack adequate financia l

resources , access to attorneys , or knowledge of their claims. Therefore, Plaintiffs subrnil

that this matter should be certified as a collective action under the .FLSA, 29 U.S.C. §

2 I 6(b).




                                               13
     Case 1:17-cv-06154-HBP Document 1 Filed 08/15/17 Page 14 of 27


        73.     Plaintiffs will fairly tmd adequate ly protect the interests of the Collect ive

Action Members and have retained counse l that is experienced and competeni in the

fields of emp loyment law and class action litigation . Plaintiffs have no interests that are

contrary to or in conflict with those members of this collective act ion.

        74.     This action shou ld be certified as a collective action because the

prose.cution of se parate actions by individual members of the class would create a risk of

either incons istent or vary ing adju dications with respect to individual members of the

class, or adjudic at ions with respect to individ ual members of the class that would as a

prac tical matter be dispositive of the interests of the other members not parties to the

adju dication, or substantially impair or impede their ability to protect their interests.

        75.     A co llect ive action is superior to other availab le methods for the fair and

eff icien t adju dicati on of this controversy, since joinde r of all members is impracticable.

Furthermore. inasmuch as the damages sutlered              by individual Co llective Action

Members may be relatively small , the expe nse and burden of indi vidual litigation make it

virtually impossib le for the members of the col lect ive act ion to individually see k redress

for the wrongs done to then1. There will be no difficulty in the management of this action

as a collective action.

        76.     Questions of law and fact common to the members of the collective action

predomi nate over questions that may affect only individual members beca use lhe

Defendants have ac ted on grou nds genera lly applicable to all members.            Among the

common questions of law and fact commo n to Plaintiffs and other Collect ive Action

Mem bers arc:




                                               14
     Case 1:17-cv-06154-HBP Document 1 Filed 08/15/17 Page 15 of 27


                a.      Whether Defendants empl oyed Plaintiffs and the Co llective Ac tion

                        Members with in the mean ing of the FLSA;

                b.       Whether Defendants failed to keep true and accurate wage and

                        hour records for all hours worked by Plaintiffs and the Collec tive

                        Act ion Members ;

                c.      What proof of hours worked is sufiicient where the emp loyer fails

                        in its duty to maintain time records;

                d.       Whether Defendants failed to pay Plaintiffs and the Collec tive

                        Act ion Members statutory min imum wages;

                e.      Whether Defendants failed Lo pay Plaintiffs and the Collective

                        Act ion Members overtime compensation for all hours worked in

                        excess of forty (40) hours per workweek, in violation of the FLSA

                        and the regulations promulgated thereunder ;

                f.       Whether Defendants' violations of the FLSA are willful as that

                        terms is used within the context of the FLSA; and,

                g.      Whether Defendants are liable for all damages claimed hereunder,

                        inc lud ing but not limi ted to compensatory. liqu idated and statutory

                        damages, interest, attorn eys' fees, and costs and disbursements .

        77.     Plaintiffs   know of no difficu lty that will be encoun ter ed in the

manageme nt of' this litiga tion that wou ld prec lude its maint enan ce as a collective action .

        78.     Plaintiff s a nd others similarly s ituated have been substantially damaged by

Defondants' wrongful conduct .




                                                15
     Case 1:17-cv-06154-HBP Document 1 Filed 08/15/17 Page 16 of 27


                             CLASS ACTION ALLEGATIONS

        79.     Plaintiffs sue on their own behalf and on behalf of a class of persons under

Rules 23(a), (b)(2), and (b)(3) of the Federa l Rules of Civi l Procedure.

        80.     Plaintiffa bring their New York Labor Law claims on behalf of all persons

who were employed by the Defendants at any time since August l 5, 2011 to the entry of

ju dgment in this case (the "C lass Period ") who were non-exempt employees within tl1e

meaning of the New York LaborLaw and have not been paid statutory minimum wages,

ove,t ime compensation, and/or "spread of hours" premium in violation of the New York

Labor Law (the "C lass") .

        81.     The persons in the Class identified herein are so numerous that joinder of

all members is impracticable. Although the identity and precise number of such persons

is unknown , and the facts upon which the calcu lation of that number may be ascertained

ai·e presently within the sole contro l of Defendants, the Class consists of all non-

manageria l currellt and former emp loyees and, therefore, is so numerous that joinder is

impract icab le and most of whom would not be like ly to file individua l suits because they

lack financ ia l resources , access to attorneys, or knowledge of their claims.

       82.     The claims of Plaintiffs are typical of the claims of the Class. and a class

action is superior to other available methods for the fair and efficient adjudicat ion of the

controversy, patt icularly   u1the   context of wage and hour litigation, where individuals

lack the financ ial resources to vigorously prosecute a lawsu it in federal court against a

corporate defendant.




                                               16
     Case 1:17-cv-06154-HBP Document 1 Filed 08/15/17 Page 17 of 27


        83.       Defendants have acted on grounds generally appl icable to the Class,

thereby mak ing appropriate final injunctive relief or con·esponding declaratory relief with

respect to the Class as a whole .

        84.       Plaint iffs have committed themselves to pursuing this action and have

retained counsel experienced i.n emp loyment law and class action litigation.

        85.       Plaintiffs will fairly and adequately protect the interests of the NY Class

members.      Plaintiffs understand that, as c lass representat ives, they assume a fiduciary

responsibil ity to the Class and Collect ive Action Members to represent their interests

fairly and adequate ly, and that they must consider the interests of the Class and

Collective Action Membe rs just as they would represent and consider the ir (WIil interests,

and that they may not favor their own interests over those of the Class or C<>llective

Action Members.

        86.       Plaintiffs recognize that any resolution of a class action lawsuit, including

any settlement or d ismissal thereof~ must be in the best interests of the Class and

Collective Action Members.          Plaintif-fs understand that in order to provide adequate

representation,    they mus t remain informed of litigation developments             and they

understand that they may be called upon to testify in depos itions and at trial.

        87.       Plaintiffs have the same interests in this matter as all other members ofi he

Class and Plain tif-ls' claims are typical of the Class.

        88.       There are ques tions   or law     a11d fact common to the Class , which

predominate over any questions sole ly affect ing the individual members of the Class,

including but not limited to:




                                               17
Case 1:17-cv-06154-HBP Document 1 Filed 08/15/17 Page 18 of 27


       a. Whether Defendants emp loyed Plaintiffs and the Class members

          within the meaning of the New York Labor Law;

       b. Whether Defendan ts failed to keep true and accurate wage and hour

          records for all hours worked by Plaintiffs and the Class mem bers;

       c. What proof of hours worked is sufficient where the emp loyer fails in

           its duty to maintain time records;

       d . Whether Defendants fa iled to pay Plaint iffs and the Collec tive Action

           Members statutory m inimum wages;

       e. Whether Defendants fa iled to pay Plaintiffs and the Class members

          overti me com pensa tion for all hours worke d in excess of forty (40)

          hours per wor kweek , in violation of the New York Labor Law and the

           regulations promulgated thereunder ;

       f. Whether Defendant s failed to pay Plaintiffa and the Class members

          "spread of hours" premium for each day they worked a shift in excess

          of ten ( I 0) hours , in violation of the New York Labor Law and the

          regu lations promulgated thereunder ;

       g. Whether Defendants ' violations of the New York Labor Law are

          willfu l as that terms is used within the context of the New York Labor

           Law; and,

       h. Whether Defendants are liable for all damages claimed hereunder,

          i.ncluding but not limited to compensat ory, liqu ida ted and stat utory

          damages, interest, costs , attorneys' fees, and costs and disbursements.




                                     18
     Case 1:17-cv-06154-HBP Document 1 Filed 08/15/17 Page 19 of 27


                                   ST ATEMENT OF CLAIM

                                            COUNT!
                          [Violation of the Fair Labor Sta ndard s Act)

        89.         Pla intiffs re-allege nnd re-aver ench and every nllegntion and statement

conta ined in paragraphs " I" through "88" of this Complaint       as   if fully set forth herein.

       90.          At all relevant times, upon information and belief, Defendants were and

continu e   10 be    an employt r engaged in interstate eommerce and/or the production of

goods for commerce within tbe meaning of the FLSA, 29 U.S.C. §§ 206(a) and 207(a).

Further, P laintiffs and the Collect ive Action Members are covered individuals within the

meaning of the FLSA, 29 lJ.S .C. §§ 206(a) and 207(a).

       9 1.         At all relevant times, Defendants employed Plaintiffs and the Collective

Action Members within the meaning of the FLSA.

       92.          Upon information and belief, at least within the three (3) most recent years

relevant to the claims in this Complaint, defendant AJS WHOLESALERS has had gross

revenues in excess of$500 ,000.

       93.       Defendants had . and continue to have,    a   policy and practice of refusing to

pay the statutory minimum wage to Plaintiffs and the Collective Action Members for

hours worked .

       94.       Defoodants willfully failed to pay Plaintiffs and the Collective Action

Members minimum wages in the lawfu l amount for their hours worked .

       95.       Plaint iffs and the Collec tive Action Members were entitled to be paid al

the rate of time and one-half for all hours worked in excess of the maximum hours

provide d for in the FLSA.




                                                 19
      Case 1:17-cv-06154-HBP Document 1 Filed 08/15/17 Page 20 of 27


         96.      Defendants failed to pay Plaintiffs and the Collect ive Action Mem bers

overt ime compensation in the lawfu l amount for all hours worked in excess of the

maximum hours provided for in the FLSA .

         97.      At aJI rel.evar\l times, the Defondants had, and continue to have   a   policy

and practice of refusing to pay overtime compensation at the statutory rate of time and

one- ha lf to Plainti ffs and the Co llect ive Action Members for all hours worked in excess

()f fo1ty ( 40) hours per work week , which violated and continues to violate the FLSA , 29

U.S.C. §§ 201 et seq., including 29 U.S.C. §§ 207(a)(l) and 215(a).

         98.      Defendants knowing ly and willfully d is regarde d the provi sions of the

FLSA as evi denced by thei r fa ilure to compensate Plaintiffs and the Co llective Action

Mem bers at the stat utmy minimum wage rate and the stat utory overtime rate of time and

one-half for all hours worked in excess of forty (40) hours per week , when they knew or

shou ld have known such was due and that non-payment of minimum wages and overtime

co mpen sation would financ ia lly injure Plaintiffs and the Co llective Action Mem bers.

         99.      As a res ult of the Defendants' failure to properly record, report, cred it

and /or compe nsate its emp loyees , including Plaintiffs and the Co llect ive Action

Members, Defendan ts have failed to make, keep and prese rve records with respec t to

each of its emp loyees sufficien t 10 detc nnin e the wages , hours and ot her cond itions and

pract ices of employm ent in violati on of the FLSA , 29 U.S.A. §§ 20 1 et seq., including 29

U.S .C. §§ 2 1 l (c) and 2 l 5(a) .

         I 00.    Defendants failed lo properly disclose or appr ise Plaiotiffs and the

C()Jlective Ac tion Members of t heir rights under the FLSA .




                                              20
     Case 1:17-cv-06154-HBP Document 1 Filed 08/15/17 Page 21 of 27


        10 I .   As a direct and proximate result of Defendant5' violation of the FLSA,

Plain tiffs and the Collective Action Members are entit led to liquidat ed damages pursuant

to the FLSA .

        I 02.    Due to the reckless, willful and unlawful acts of Defendants, Plaintiffs and

the Collective Action Membe rs suffered damages               in an amoun t not presently

ascerta inab le of unpaid minimum wages, unpaid overt ime compensation, an equal

amount as liquidated dama ges, and prej udgment interes t thereon.

        103.     Plaintiffs and the Collective Action Memb ers are entitled to an award of

the ir reasona ble atto rneys' foes, costs and expenses, pursuant to 29 U.S.C. § 2 16(b).

                                        COUNT II
                         IViolation of the New York Labor Law)

        104.     Plaintiffs re-allege and re-aver each and every allega tion and statement

contained in paragraphs ·• l " through " 103" of this Comp laint as if fully set forth herein.

        I05.     Defendants were the em ployer of Plaintiffs and the Class members as

defi ned with in the meaning of New York Labor Law §§ 2 and 65 l.

        106.     Defendants know ingly and willfully violated the rights of Plaintiffs and

mem bers of the Class by failing to pay them minimu m wages in the lawful amount for

hours worked.

        107.     Defendants knowi ngly and willfully violated the rights of Plaintiffs and

the Class members by failing to pay Pla intiff.<;and the Class members overtime

co mpensat ion at the rate of time and one- h11lffor each hour worked in excess of forty

(40) hours in a workweek .

        108.     Employers are requ ired to pay a "spread of hours " premium of one ( 1)

add itional hour' s pay at the statutory m inimum hourly wage rate for each day where the



                                              21
        Case 1:17-cv-06154-HBP Document 1 Filed 08/15/17 Page 22 of 27


spread of hours in an emp loyee's workday excee ds ten (10) hours.              New York State

Depar tment of Labor Regulat ions§ 142-2.4.

          I 09.    Detendants knowing ly and willfully violated the rights of P laintiffs and

the Class members by failing to pay "spread of hours " premium to Plaintiffs and the

Class members for eac h day they worked a shift in excess of ten (IO) hours pursuant to

New Yo rk State Department of Labor Regulations.

          I I 0.   Defendants failed to properly disclose or appr ise Plaintiffs and the Cla$s

members of the ir rights under the New York Labor Law .

          111.     Defendant s failed to furnish Plaintiffs and the Class members with a

s tatemen t with every payment of wages listing gross wages, deductions and net wages , in

contravent ion of New York Labor Law § 195(3) and New Yo rk State Department of

Labor Regulat ions§ 142-2.7.

          112.     Defendants fa iled to keep true and accurate records of hours worked by

each employee covered by an hourly minimum wage rate, the wages paid to all

emp loyees. and other simi lar information in contravention of New York Labor Law §

66 I.

          113.     De fendants failed to es tablish, maintain , and preserve for not less than six

(6) years payroll records s how ing the hours worked, gross wages, deductions, and net

wages for each emp loyee , in contravention of the New York Labor Law§ 194(4), and

New York State Departmem of Labor Regulations§ 142-2.6.

          114.     Due to the Defendants ' New York Labor Law violations , Pla intifls and the

Class members are entit led to recove r from Defendants their unpaid minimum wages,

unpaid overt ime co 111p
                       ensat ion, and unpaid "spread of hours " premium, reasonable




                                                 22
     Case 1:17-cv-06154-HBP Document 1 Filed 08/15/17 Page 23 of 27


attorneys' fees, and costs and disburseme nts of this action , pursuant to New York Labor

Law§§ 663(1), 198.

        115.   Plaintiffs and the Class members are al$o entitled to liquidated damages

pursuant to New York Labor Law§ 663(1), as well as civil penalties and/or liquidated

damages pursuant to Lhe New York State Wage Theft Preve ntion Act.

                                  PRAYERFOR RELEIF

       WHEREFORE,         Plaintiffs LEONEL CALDERON , EDGAR LADINO, and

VALENTIN MELENDEZ., on behalf of themselves and all similarly situated Collective

Action Members and Class members, respectfully request that this Court grant the

following relief:

       (a)     An award of unpaid min.imum wages due under the FLSA and New York

               Labor Law;

       (b)     An award of unpaid overtime compensation due under the FLSA and New

               York Labor Law;

       (c)     An award of unpaid "spread of hours" premium due under the New York

               Labor Law;

       (d)     An award of liquidated damages as a result of Defendants' failure to pay

               minimum wages and overtime compensation pursuant lo 29 U.S.C. § 2 16;

       (e)     An award of liqu idated damages as a result of Defendants' failure to pay

               minimum wages, overt ime compensation, and "sp read o f hours" premium

               pursuant to the New York Labor Law and the New York State Wage Theft

               Preven tion Act;




                                          23
      Case 1:17-cv-06154-HBP Document 1 Filed 08/15/17 Page 24 of 27


         (D       An award of statutory damages pursuant to the New York State Wage

                 Theft Prevent ion Act for Defendants' failure to provide wage notices and

                  wage statements;

         (g)      An award of prejudgment and post-judgment interest;

         (h)      An award of costs and expenses associated with this action, together· with

                  reasonab le attorneys ' and expert fees; and

         (i)     Such other and further r·eliefas this Court determines to be just and proper.

                                       JURYDEMAND

         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure , Plaintiffs demand

tria l by j ury on all issues.

Dated: New York, New York
       August 15, 2017

                                                 Respectfully submitted,

                                                 CILENTI & COOPER, PLLC
                                                 AttorneysfiJr Plaintiffe
                                                 708 Third A venue - 6'hFloor
                                                 New York, NY 10017
                                                 T. (212) 209-3933
                                                 F. (212) 209 -7102



                                                 By:




                                               24
     Case 1:17-cv-06154-HBP Document 1 Filed 08/15/17 Page 25 of 27




                               CONSENT TO SUE UNDER
                            FAIR LABORSTANDARDS ACT

       I,      ,L.~<T),,J
                       c:,._p
                            d~                             ,   am an employee curren tly or

formerly employed by          /1-J:S.
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                                             J                              ,   and/or related

entit ies. l consent to be a plaintiff in the above-capt ioned action to collect unpaid wages.

Date
 { New York, New York
 bt 07.,.,         , 2011
     Case 1:17-cv-06154-HBP Document 1 Filed 08/15/17 Page 26 of 27




                             CONSENTTO SUE UNDER
                           FAIR LABORSTANDARDS ACT

       I,     f r1y,,.,.-
                     J .._d,-...:,                         , am an employee current ly or

formerly emp loyed by      ~@
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entities. I consent to be a pla intiff in the above-captioned action to collect unpaid wages.

Dated: Jew York, New York
    8 'L       , 2017
     Case 1:17-cv-06154-HBP Document 1 Filed 08/15/17 Page 27 of 27




                             CONSENT TO SUE UNDER
                           FAIR LABOR STAN DARDS ACT

        I,              (\ \l.e
             \lo\' QY'.\:i:\  \e()c\e_
                                     7                       , am an employee cuuently or
formerly employed by       ~~.Seiler                  ;i   JI'"\ l.         , and/or related

en tities. I consent to be a plaintiff in the above-captioned action to collect unpaid wages.

Dated: New York. New York
    £:/7
       I
                '2017
